                IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF IOWA
                         WESTERN DIVISION



                                  )
THE SECURITY NATIONAL BANK )                    Case NO.5: 11-cv-040 17 -MWB
OF SIOUX CITY, IOWA as conservator)                     Judge Mark W. Bennett
of J .M.K., a Minor, )                      Magistrate Judge Leonard T. Strand


vs. )            Plaintiff, )
ABBOTT LABORATORIES, )
                                  )



                                  )   PLAINTIFF'S OBJECTION TO
                                      DEFENDANT'S BILL OF COSTS
                                  )
                 Defendant. )
                                  )




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                                                         ARGUMENT


            Plaintiff Security National Bank, as conservator of J.M.K., a minor, ("Plaintiff'),

through its counsel of record, objects to the Bil of Costs of Defendant Abbott

Laboratories.


A. Plaintiff Security National Bank Cannot Be Taxed.

            Plaintiff Security National Bank serves as the conservator for J.M.K., a minor,

pursuant to the Order Appointing Conservator issued by the Iowa District Court in and

for Woodbury County on January 7, 2011 in Court File No. GCPR052050. Plaintiff

brought suit on behalf of     minor pursuant to Rule 17(c)(1)(C) of       the Federal Rules of   Civil

Procedure.

            A conservator is an officer or agent of the Court appointed to protect the rights of

a minor. Rule 17(c) of the Federal Rules of Civil Procedure authorizes a conservator to

bring suit on behalf of a minor. But as the representative of the minor's interests, a

conservator is not the real party in interest under Iowa law. See IA R 1.210 (action of

minor shall be brought by either conservator, guardian, or next friend); Wheatley v.

Heideman, 102 N.W.2d 343, 354 (1960) (father who brought suit on behalf of minor

daughter was not party in interest but "an aid to her to assert her rights, if any, against

defendant"); Albee v. Winterink, 55 Iowa 184, 7 N.W. 497 (1880) (minor is real party in

interest in action brought by next friend); see also Jaramilo v. Burkhart, 999 F.2d 1241,


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1246 (8th Cir. 1993) ("In a diversity action, state law determines the issue of who is a

real party in interest. ").

        Other courts have concluded that litigation costs cannot be taxed against a party

serving in only a representative capacity. See Horzepa v. Dauski, 40 F. Supp. 476, 477

(E.D.N.Y. 1941) (guardian ad litem "is only a representative, appointed by the Court for

the purpose of commencing the action," and is not responsible for costs unless especially

charged therewith by order of the Court); see also Watson by and through Watson v.

State Farm Mut. Auto Ins. Co., 639 So. 2d 687 (Fla. Dist. Ct. App. 1994) (limiting

appellee's recovery of costs from minor plaintiff and not from plaintiffs father); Wilson

v. Glenn, 2009 WL 8656816 (Utah Dist. Ct. 2009) (finding it is not reasonable to require

guardians to take on the responsibilty for the case when they are not a party and when

guardian has not engaged in misconduct). Some older cases hold to the contrary.

Reynolds v. Great N. Ry. Co., 206 F. 1003 (E.D. Wa. 1913); Vance v. Fall, 48 Iowa 364

(1878). Accordingly, Security National Bank objects to Defendants' taxation of costs
against it as the conservator. The real party in interest in this case is J.M.K., a minor, and

not Plaintiff as the conservator. To the extent there are any taxable costs by Defendant,

such costs must be taxed against J.M.K. and cannot be taxed against Security National

Bank.


B. The Court Should Exercise Its Discretion Not to Tax Costs Against J.M.K.
        Plaintiff objects to taxation of J.M.K. on the grounds that doing so would be

inequitable and cruel due to J .M.K.' s indigency and the financial disparity between the
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parties. Rule 54( d) provides that "( u )nless a federal statute, these rules, or a court order

provides otherwise, costs. . . should be allowed to the prevailing party." Fed. R. Civ. P.

54( d)( 1). Courts interpret Rule 54( d) as presuming the recovery of costs to the prevailing

party. Kaplan v. Mayo Clinic, 2011 WL 3837095 (D. Minn. 2011), citing 168th &

Dodge, LP v. Rave Reviews Cinemas, LLC, 501 F.3d 945, 958 (8th Cir. 2007). Rule

54( d), however, confers broad discretion on a district court to deny costs to a prevailing

party. See Blakley v. Schlumberger Tech. Corp., 648 F.3d 921,930 (8th Cir. 2011).

       To overcome the presumption of a cost award, the nonprevailng party must

provide the Court "specific reasons explaining why . . . it would be inappropriate or

inequitable to award costs." Kaplan, 2011 WL 3837095, *1, quoting, Jack Russell Terrier

Network ofN. California v. American Kennel Club, Inc., 407 F.3d 1027, 1038 (9th Cir.

2005). A court properly exercises its discretion to deny or reduce a prevailing party's

costs when the nonprevailng party is indigent or when there is a significant financial

disparity between the parties. Kaplan, 2011 WL 3837095, *2 (internal citations omitted);

Laura B. Bell, Taxation of Costs and Award of Expenses in Federal Court, 101 F.R.D.

553, 561 (1984) ("The most common bases for denying costs to prevailing defendants

have been the indigency of the losing plaintiff'), citing Badilo v. Central Steel & Wire

Co., 717 F.2d 1160, 1165 (7th Cir. 1983) (presumption in favor of award may be

overcome by showing of indigency); Maldonado v. Parasole, 66 F.R.D. 388, 390

(E.D.N.Y. 1975) ("(i)ndigency is a proper ground for denying costs in cases where there

is a wide disparity of economic resources between the parties"); Cross v. General Motors,

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721 F.2d 1152, 1157 (8th Cir. 1983) (limiting award of costs due to limited financial

resources of        party); Jack Russell Terrier Network ofN. California, 407 F.3d at 1038 (lack

of financial resources has been approved as proper ground for a denial of costs). A

nonprevailng party must establish its inabilty to pay costs as well as its inabilty to pay

costs in the future to support a denial of costs based on indigency. See Kaplan, 2011 WL

3837095, *2.

               This Court should exercise its discretion under Rule 54(d) to deny Abbott's

taxation of costs. lM.K. is an indigent five-year-old child with significant medical


challenges. She not only is unemployed, but also she wil never be employed. She has no

income. She has no assets. She is not receiving any governmental or other aid for which

he could satisfy an award of costs to Defendant. Nor wil J.M.K. be able to pay costs in

the future. Her employment prospects are non-existent. If ever there was a case in which

a prevailing party should be denied its award of costs due to the nonprevailing party's

financial status, this is that case. To award Abbott its costs would result in a grievous

inequity contrary to the administration of justice. Accordingly, this Court should exercise

its discretion and deny Abbott's taxation of costs against J.M.K.

            It would be equally inequitable to award Defendant its costs due to the significant

financial disparity between the parties. J.M.K. is an insolvent five-year old with no

income and no abilty to generate any income ever. Abbott is a multi-national corporation

with over $21 billon in net sales in 2013. To award Defendant its costs in this proceeding



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would impose a substantial burden on J .M.K. that is contrary to the equity sought by Rule

54(d).

         Finally, this Court should deny an award of costs to Defendant because the claims

pursued by J .M.K. in this proceeding were only resolved after a vigorously argued nine-

day jury triaL. J.M.K.'s claims are well-founded and not frivolous. They were pursued in

good faith.


C. Plaintiff's Objection to Specifc Costs.
         1. Transcripts
            a. Depositions of N ontestifying Witnesses

         Generally, the cost of a deposition transcript is taxable if the deposition was


reasonably necessary at the time it was taken and not purely investigative. Accordingly,

costs may be taxed for depositions that are introduced into evidence, used for cross-

examination or impeachment purposes, or were otherwise considered necessary to

resolve the issues in the case. See Zotos v. Lindbergh Sch. Dist., 12l F.3d 356, 363 (8th

Cir.1997); Frazier v. IBP, Inc., C97-0023, 1999 WL 33655745, *LO (N.D. Iowa Feb. 2,

1999) aftd sub nom. Frazier v. Iowa Beef Processors, Inc., 200 F .3d 1190 (8th Cir.

2000). Necessity may be shown by the fact that a deposition is used in court or cited in a

motion or brief. See Bunda v. Potter, C03-3102-MWB, 2006 WL 266513 (N.D. Iowa Jan.

31, 2006). Without such evidence, costs are typically not allowed in the absence of other

evidence demonstrating the deposition's necessity. Id. at *7; see also Zotos v. Lindbergh


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Sch. Dist., 121 F.3d 356, 363 (8th Cir. 1997); Amana Society, Inc. v. Excel Engineering,

Inc., 2013 WL 427394 (N.D. Iowa Feb. 4, 2013).

            Abbott claims $18,720 for deposition transcripts, including the transcripts of B.

Barrett-Reis and Joseph Carlos, who did not testify at trial and whose depositions Abbott

did not cite in its pretrial motions. Because Abbott has supplied no explanation of why

these depositions were necessary, Plaintiff asks the district court to deny the $1,329

Abbott requests.


                  b. Video Depositions of Megan Surber and Troy Kunkel

            Abbott claims $910 each for video recordings of the depositions of Megan Surber

and Troy Kunkel, neither of which was used at triaL. Although the costs of video

depositions are recoverable under 28 U.S.C. § 1920, see Craftsmen Limousine, Inc. V.

Ford Motor Co., 579 F.3d 894 (8th Cir. 2009), costs for both a transcript and videotaping

of a deposition are generally disallowed. See Amana Soc., Inc. v. Excel Eng'g, Inc., 10-

CV-168-LRR, 2013 WL 427394 (N.D. Iowa Feb. 4, 2013) ("(T)he court finds that it

would not be appropriate or in line with the plain meaning of28 U.S.C. § 1920 to permit

recovery for both a video recording and stenographic transcript of       the same deposition.");

E.E.O.C. v. CRST Van Expedited, Inc, 07-CV-95-LRR, 2010 WL 520564 (N.D. Iowa

Feb. 9, 2010) vacated sub nom. E.E.O.C. v. CRST Van Expedited, Inc., 670 F.3d 897

opinion vacated and superseded on reh'g, 679 F.3d 657 (8th Cir. 2012) and vacated sub

nom. E.E.O.C. v. CRST Van Expedited, Inc., 679 F.3d 657 (8th Cir. 2012) (explaining

that 28 U.S.C. § 1920(2) provides for recovery of the costs of "printed or electronically
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recorded transcripts"); see also Winter v. Novartis Pharm. Corp., No. 06-4049-CV-C-

MJW, 2012 WL 3993623, at *4 (W.D.Mo. Sept.11, 2012) (ordering that losing party

reimburse prevailing party for transcript costs but not for videotaping); Am. Guarantee &

Liab. Ins. Co. v. U.S. Fid. & Guar. Co., No. 4:06CV655RWS, 2010 WL 1935998, at *2

(E.D.Mo. May 10, 2010) ("(I)t would be contrary to the plain language of § 1920 to allow

(the prevailing party) to recover costs for both stenographic transcripts and video costs

for the same depositions."). Although costs of both transcripts and videotaping may be

taxed if it was believed at the time of the deposition that the witness would be unavailable

to attend the trial, see Brown v. The McGraw-Hil Companies, Inc., 526 F.Supp.2d 950,

958 (N.D. Iowa 2007), Abbott has not attached supporting documentation explaining why

a video deposition was necessary in this case. Accordingly, the district court should not

permit recovery of           the $1,820 in videotaping costs.


                     c. Excessive Length 'of Depositions

            In addition, to the extent that the court finds that Abbott's counsel June Ghezzi

made objections lacking a good faith basis in law or fact, thereby impeding, delaying, and

frustrating the fair examination of the deponent, the district court should disallow

Abbott's fees for these depositions. See Perlman v. Feldmann, 116 F. Supp. 102, 110 (D.

Conn. 1953) (noting that transcript is not taxable to the extent that prevailng party

unreasonably prolonged deposition). Accordingly, Plaintiff requests that the Court defer

ruling on the costs issue until it has determined whether to impose sanctions on defense

counseL.
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          d. Realtime Trial Transcripts

       Finally, Abbott requests $4,318.65 in costs for realtime trial transcripts of all nine

days of the triaL. Like deposition transcripts, the district court may award costs for trial

transcripts "necessarily obtained for use in the case." 28 U.S.C. § 1920; see McDowell v.

Safeway Stores, Inc., 758 F.2d 1293, 1294 (8th Cir. 1985). Here, Abbott has not

explained why realtime trial transcripts were necessary for it to make its case. Nor did it

cite the transcripts in its January l3 motion for a directed verdict, in which it merely

asserted without explanation that the court should grant a directed verdict for the reasons

identified in its summary judgment motion "and now supported by the testimony in this

case." Plaintiff therefore requests that the Court disallow Abbott's costs for trial

transcripts. See McDowell, 758 F.2d at 1294 (rejecting defendant's argument that

transcripts were necessary for preparing proposed findings of fact and conclusions of law

where proposed findings and conclusions were based largely on trial exhibits); Brown,

526 F. Supp. 2d at 958 (declining to award costs for realtime trial transcripts apparently

obtained for convenience of defendant's attorneys but unnecessary for use in case).


       2. Copying Costs
       Abbott claims $5,760 in copying costs for the following items:

       (1) all unsealed pleadings and orders - electronic docket entries #1-153; (2) all
       sealed pleadings and orders; (3) courtesy copies of Abbott's pleadings provided to
       the Court and the Clerk of the Court; (4) plaintiffs electronically transmitted
       expert discovery responses; plaintiffs electronically transmitted document
       productions; (6) plaintiffs electronically transmitted expert discovery and reports;
       (7) third-parties' electronically transmitted productions of documents and medical
       records; (8) Abbott's electronically transmitted document productions; (9) Court
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            requested copies of the September 2013 trial's defense and joint exhibits; (10)
            Court requested copies of the January 2014 trial's defense and joint exhibits; (1l)
            copies of all Exhibits, demonstratives, and impeachment materials for use during
            trial; (12) copies of all electronically transmitted fact witness depositions and
            exhibits; (13) copies of all electronically transmitted expert witness depositions
            and exhibits.

            In support of these costs, Abbott attaches a spreadsheet from which-with the

exception of the duplication fees connected to its FOIA requests-it is impossible to

determine the purpose of the these costs. Like deposition transcripts, however, copying

costs are recoverable only to the extent that they are "necessarily obtained for use in the

case." 28 U.S.C. § 1920(4). Several district courts interpreted this to mean that they may

tax only the costs of actually trying a case in the courtroom and have therefore refused to

tax discovery-related copying costs, see, e.g., Jones v. Nat'l Am. Univ., No. CIV 06-

5075-KES, 2009 WL 2005293, at *6 (D.S.D. July 8, 2009); Moore v. DaimlerChrysler

QQ, No. 4:06CV757 CDP, 2007 WL 1445591, at * 1 (E.D.Mo. May 11, 2007); Sphere
Drake Ins. PLC v. Trisko, 66 F.Supp.2d 1088, 1093-94 (D.Minn. 1999); Emmenegger v.

Bull Moose Tube Co., 33 F.Supp.2d 1127, 1133-34 (E.D.Mo.1998), or expenses incurred

by a party in copying its own pleadings and motions for fiing with the court, serving on

opposing counsel, or transmitting to clients, see, e.g., Sphere Drake Ins. PLC v. Trisko,

66 F.Supp.2d 1088, 1093 (D.Minn.1999). And although the Northern District of          Iowa has

noted its disagreement with the "suggestion that there is an absolute bar to recovering

costs for discovery-related copying," Penford Corp. v. Natl Union Fire Ins. Co. of

Pittsburgh, PA, 09-CV-13-LRR, 2011 WL 10088365, at *3 (N.D. Iowa Feb. 10, 2011),


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the court has exercised its discretion to deny discovery-related copying costs. Id. at 4. In

the absence of a cost breakdown of Abbott's copying expenses, Plaintiff asks the court to

disallow these expenses.


       3. Witnesses
       Abbott also requests nearly four thousand dollars in witness fees, including car

service, lodging, meals, and mileage fees.

       Although Abbott can recover costs for its witnesses' travel fees, it may do so only

in the amounts specified in 28 U.S.C. § 1821. Under this section, the taxable expenses of

a witness may include (1) actual travel expenses if travel is by common carrier at the

most economical rate reasonably available, 28 U.S.C. § 1821(c)(1), (2) the mileage

allowance prescribed for federal employees if travel is by privately owned vehicle, 28

U.S.C § 1821(c)(2), and (3) charges for taxis and other miscellaneous expenses, 28

U.S.C. § 1821(c)(3). In addition, when an overnight stay is required witness expenses

may include the lesser of the amount actually paid or the maximum per diem allowance

for federal employees. See 28 U.S.C. § 1821(d); Amana Soc., Inc. v. Excel Eng'g, Inc.,

1O-CV-168-LRR, 2013 WL 427394, at *10 (N.D. Iowa Feb. 4, 2013) (calculating

allowable lodging costs using federal per diem rate). For Sioux City, Iowa in January

2014, the federal per diem rate was $83. See United States General Services

Administration, Per Diem Rates Look-Up, available at http://ww.gsa.gov/portall

category/l 00 1 20.




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          a. Stanford Shulman

       Abbott requests costs for transportation, one night's accommodations in Sioux

City, and two days' attendance fees. Instead of the $100.57 Abbott requests for hotel

costs, Plaintiff asks that the district court award only the $83 per diem rate for federal

employees.


          b. Sharon Bottock

       Bottock testified on January 14 and 15. Abbott requests costs for transportation

and three nights' accommodations in Sioux City (January 12, 13, and 14). Because

Bottock testified on only one of the days that she stayed in Sioux City, Plaintiff requests

that the district court award costs for only two nights' lodging-$166 at the federal per

diem rate. See Brown, 526 F. Supp. 2d at 956 (awarding two days' lodging costs where

witness testified on only one of the five days he was present at defense table). In addition,

Plaintiff is unable to determine from Abbott's exhibits whether Bottock's airfare from

Phoenix to Omaha and back was the most economical rate available. In the absence of

supporting documentation, Plaintiff asks that the district court disallow the $485.50 that

Abbott requests for Ms. Bottock's airfare.


          c. Martin Wiedmann
       Abbott requests hotel costs of $201.14 for two nights' accommodations in Sioux

City for Wiedmann. Consistent with section 1821 (d), Plaintiff requests that the district

court award only $ 1 66.


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       D. Denial of Costs as a Sanction
              This Court issued an Order to Show Cause regarding sanctions. If the

Court determines that sanctions are appropriate, Plaintiff requests that the sanction

include denial of Abbott's request of costs.

                                LOMMEN, ABDO, COLE, KING & STAGEBERG, P.A.



Dated: February 20,2014            BY lsi Stephen C. Rathke
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